
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
Claimant seeks payment of the sum of $4,401.40 for merchandise which was ordered, shipped, and received, but for which no payment was made by respondent.
In its Answer, the respondent admits the allegations of fact set forth in the Notice of Claim, but further alleges that there were no funds remaining in the respondent’s appropriation for fiscal year 1977-1978 from which the obligation could have been paid.
While we feel that this is a claim which in equity and good conscience should be paid, we are of further opinion that an award cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
